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                   EXHIBIT 5
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                                     In The

United States Court Of Appeals
            For The Federal Circuit
                PUREPREDICTIVE, INC.,
                                                                   Plaintiff – Appellant,

                                          v.

                             H2O.AI, INC.,
                                                                   Defendant – Appellee.



    O N A PPEAL F ROM T HE U NITED S TATES D ISTRI CT C O URT FOR THE
  N ORTHERN D I STRICT OF C ALIFORNI A , C ASE N O . 3:17- CV -03049-WHO


                                 _____________

              REPLY BRIEF OF APPELLANT
                                 _____________


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                                 INTRODUCTION

        The district court found the appealed claims ineligible under 35 U.S.C. § 101

  after erroneously characterizing the scope of the claimed invention. Defendant’s

  characterization of the claims is not tied to the scope of what is actually claimed.

  Moreover, there are underlying issues of fact regarding whether the claims

  describe well-understood, routine, and conventional activities. The claims are

  directed to an improvement in computer functionality and the technical field of

  predictive data processing.

        Defendant failed to meet its burden to demonstrate invalidity by clear and

  convincing evidence and the district court did not apply the clear and convincing

  evidence standard when it granted defendant’s motion to dismiss. At a minimum,

  there are at least underlying issues of fact regarding whether the claimed subject

  matter involves such an improvement. The claims recite concrete, patent-eligible

  subject matter that is not abstract, conventional, or preemptive. Furthermore, the

  district court’s preemptive refusal to allow plaintiff to amend the complaint as

  futile where it was issuing an order of dismissal without the benefit of claim

  construction was improper.

        Accordingly, reversal is warranted. At a minimum, the dismissal order

  should be vacated and plaintiff should be provided an opportunity to amend the

  complaint.


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                                      ARGUMENT

          The appealed claims satisfy § 101’s eligibility requirements because they do

  not preempt an abstract idea. The primary issue under § 101 is how to characterize

  the appealed claims. The claims recite a particular metadata structured predictive

  ensemble and a predictive analytics factory for producing the claimed predictive

  ensemble. This is supported by the specification and tied to the claim elements.

  This is a significant improvement to the function of computer data processing and

  the field of predictive analytics technology. The claims do not preempt the

  computer generation of all learned functions and do not cover all predictive

  ensembles. Thus, the district court’s order of dismissal should be reversed.

  I.      CLAIM 14 IS NOT REPRESENTATIVE OF ALL CLAIMS

          Defendant bases its response entirely on arguments against the validity of

  claim 14, wholly ignoring independent claims 1, 17, and 23. Defendant repetitively

  and erroneously asserts that “PurePredictive does not dispute that Claim 14 is

  representative of the other independent claims.” RB 1 at 8. To the contrary, plaintiff

  disputes that claim 14 is representative and “never agreed to make claim [14]

  representative.” Berkheimer v. HP Inc., 881 F.3d 1360, 1365 (Fed. Cir. 2018). In

  its opposition brief to H2O.ai’s motion to dismiss, PurePredictive contended that

  claim 14 was not representative:

  1
      All references to RB (“Red Brief”) are to H2O.ai’s Response Brief.


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        The Motion to Dismiss incorrectly cherry-picks claim 14 (which does
        not claim modules related to computer related technology), does not
        consider the claims "in light of the specification[,]" and conveniently
        ignores the clear direction of the claim and "[its] character as a whole .
        . . ."

  Appx158:16–29 (citing Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1335 (Fed.

  Cir. 2016) (internal citations omitted)).

        PurePredictive also separately argued the relevance of distinct claim

  limitations of independent claims 1, 17, and 23 apart from claim 14 in its

  opposition brief to H2O.ai’s motion to dismiss. For example, PurePredictive

  argued:

        Claims 1 and 23 clearly state the use of modules, which may be
        implemented as hardware circuits, software, or a combination of
        hardware and software. See ‘446 Patent at 3:32–65. The use of these
        modules throughout both the claims and the specification shows that
        the claims are directed toward computer-related technology.

  Appx157:20–23.

        PurePredictive also distinguished claim 17 from claim 14 when it argued in

  its opposition brief:

        Claim 17, a claim directed to a computer-program product, is also
        clearly directed toward computer-related technology. . . .
        The Federal Circuit has found computer program product claims
        similar in nature to Claim 17 to be valid and infringed.

  Appx157:24–158:4 (citing z4 Techs., Inc. v. Microsoft Corp., 507 F.3d 1340, 1356

  (Fed. Cir. 2007)).




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          PurePredictive further argued the distinctiveness of claim language of other

  independent claims from claim 14 during the hearing on defendant’s motion to

  dismiss. For example, PurePredictive argued:

          If you look at the patent, particularly Claims 1 and 23, there are
          multiple references to the use of modules throughout these claims. . . .
          All of the modules listed and contemplated arise in the context of
          computer technology.

  Appx198:14-22.

          Indeed, the order of dismissal also recognized that PurePredictive raised

  arguments regarding distinct claim language of claims 1, 17, and 23 regarding

  modules and computer program products. Appx10:14–18

          On appeal, PurePredictive separately argued the validity of claims 1, 17, and

  23 in addition to claim 14. See, e.g., BB 2 at 55-59. Moreover, PurePredictive

  contested the use of claim 14 by the district court to make broad, conclusory

  generalizations about all of the independent claims without any “meaningful

  discussion regarding the actual claim language or the meaning of the claim terms

  considered in view of the specification.” BB at 39. As noted in PurePredictive’s

  appeal brief: This overbroad abstraction does not account for core features of the

  claims. BB at 39 (emphasis added).




  2
      All references to BB (“Blue Brief”) are to PurePredictive’s Appeal Brief.


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        Under similar circumstances, Berkheimer held that the plaintiff preserved its

  right to separately argue the validity of different claims. Berkheimer, 881 F.3d at

  1365-1366. The plaintiff had not agreed to make a claim representative, argued in its

  opposition to summary judgment that the claim was not representative, included

  arguments in the opposition brief regarding distinguishing features of claims, and on

  appeal independently argued for the validity of other claims. Id. at 1365. Under these

  circumstances, Berkheimer held Mr. Berkheimer preserved his right to separately

  argue the validity of different claims. The same facts/circumstances exist in this case.

        Accordingly, the Court should not treat claim 14 as representative and

  should evaluate each of the appealed claims on their own merits.

  II.   ALICE STEP 1 – THE APPEALED CLAIMS DO NOT PREEMPT AN
        ABSTRACT IDEA

        The sole justification for judicially created exceptions to § 101 is that patent

  claims should not preempt the fundamental tools of discovery that must remain

  “free to all . . . and reserved exclusively to none.” Funk Bros. Seed Co. v. Kalo

  Inoculant Co., 333 U.S. 127, 130 (1948). Preemption is "the concern that drives" §

  101 jurisprudence. Alice Corp. Pty. Ltd. v. CLS Bank Intern., 134 S. Ct. 2347, 2354

  (2014); see also Bilski v. Kappos, 561 U.S. 593, 611-12 (2010). The appealed

  claims do not preempt an abstract idea. The dismissal order improperly found the

  claims directed to an abstract idea by overlooking core features described in the

  claim language.

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        The appropriate § 101 analysis requires viewing the claim as a whole, and

  not individual limitations. Diamond v. Diehr, 450 U.S. 175, 188-89 (1981); King

  Pharms., Inc. v. Eon Labs, Inc., 616 F.3d 1267, 1277 (Fed. Cir. 2010). "[I]t is

  irrelevant that any individual step or limitation of such processes by itself would be

  unpatentable under § 101." In re Bilski, 545 F.3d 943, 958 (Fed. Cir. 2008).

        The specific predictive analytics factory and metadata structured predictive

  ensemble covered by the appealed claims do not preempt the field of predictive

  learned functions or predictive data analytics.

        Thus, the district court’s order of dismissal should be reversed.

        A.     The claims do not preempt all applications of a mathematical
               process

        Defendant argues that the claims preempt all applications of a mathematical

  process. RB at 24. In support of this position, defendant repeatedly cites a passage

  from the specification (which was relied upon by the district court): “Beneficially,

  such an apparatus, system, method, and computer program product would

  comprise a predictive analytics factory configured to generate a predictive

  ensemble regardless of the particular field or application.” Appx24, 1:41-44.

        Defendant mischaracterizes this passage to mean that the claims cover all

  applications of a mathematical process or any computer generation of learned

  functions. This interpretation overlooks the fact that the claims do not generally cover

  learned functions by themselves; rather, they cover particular predictive ensembles

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  and particular predictive analytics factories that form these predictive ensembles.

  Indeed, the appealed claims do not cover all predictive analytics factories or all

  predictive ensembles. And plaintiff has never asserted such a broad interpretation.

        Defendant attempts to obfuscate the difference between being able to apply a

  claimed invention to different fields and being able to preempt all applications of

  an abstract idea. For example, a novel removable handle grip for a hammer may

  have a wide variety of applications and could easily be said to be useful regardless

  of the particular field or application. It could be used on a claw hammer,

  sledgehammer, framing hammer, ball-peen hammer, garden pick, etc. It may be

  used in commercial or residential construction or for home use. Stating that the

  novel handle grip is useful “regardless of the particular field or application” does

  not mean that a corresponding claim covering the novel handle grip would cover

  all handle grips and certainly would not render the subject matter of the hammer

  handle grip patent ineligible under § 101.

        Likewise, the passage cited by defendant should not be read to imply that the

  claims cover all predictive analytics factories or all predictive ensembles. The

  claim language delineates the scope of the claims and that language is not so broad

  as to cover all predictive ensembles or predictive analytics factories. See Ruckus

  Wireless, Inc. v. Innovative Wireless Sol’s, LLC, 824 F.3d 999, 1004 (Fed. Cir.

  2016) (claims should be read to preserve their validity).


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        For example, claim 1 only covers a predictive analytics factory that forms a

  “predictive ensemble comprising a subset of multiple learned functions from the

  plurality of learned functions” where the multiple learned functions are “selected

  and combined based on the evaluation metadata” and the predictive ensemble

  comprises a “rule set synthesized from the evaluation metadata to direct data

  through the multiple learned functions such that different learned functions of the

  ensemble process different subsets of the data based on the evaluation metadata.”

  Appx34-35. As shown below, there are a number of predictive analytics factories

  and predictive ensembles that do not fall within claim 1.

        Furthermore, the claimed predictive analytics factory is not merely

  manipulating mathematical formulas. Rather it is configured to generate and

  combine evaluative metadata with multiple synthesized learned functions to create

  the metadata structured environment of a predictive ensemble that more effectively

  and efficiently processes predictive data. Similarly, the claimed predictive

  ensemble is not a mathematical formula. Rather, it is a metadata structured3


  3
    Defendant also argues that PurePredictive waived any arguments regarding the
  claims covering data structures. As discussed below, PurePredictive’s
  characterization of the claims has not been that they merely cover a data structure,
  but cover a metadata structured arrangement of combined learned functions and a
  predictive analytics factory that produces them. PurePredictive discussed the
  metadata relationship of the predictive analytics factory and ensembles, as well as
  their advantages, in its opposition brief and oral argument below. See, e.g.,
  Appx157:9–15, Appx165:3-13, Appx166:18–21, Appx196:23-197:8.


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  arrangement of combined, synthesized learned functions for processing predictive

  data including a metadata rule set that directs different subsets of data to different

  combined learned functions. Thus, metadata is used to define relationships within

  the claimed predictive ensemble so that different classes or subsets of data are

  processed by different combined learned functions.

        Other predictive ensembles do not do this. For example, a predictive

  ensemble using a linear voting system does not assign different subsets of

  predictive/workload data to different combined learned functions for processing.

  Instead, each function in the voting ensemble is given the same data for processing.

  Appx303–304. In fact, during prosecution of the ‘446 Patent 4, the applicant

  amended the claims to clarify that the claimed predictive ensemble did not cover

  voting ensembles. As noted in an After Final Amendment and Response to Office

  Action (pgs. 15-16), the ‘446 Patent applicant stated:

        The present amendments clarify that the synthesized rule set directs
        data such that different learned functions of the ensemble process
        different subsets of the data, such as different features/columns of

        4
            Defendant argues that PurePredictive waived arguments relying on
  prosecution history. But the prosecution history was discussed various times during
  oral argument before the district court on H2O’s motion to dismiss. For example,
  PurePredictive argued the significance of prior art raised by the USPTO and of the
  USPTO’s evaluation of the prior art. (Appx201; Appx203) Likewise, PurePredictive
  argued the significance of other aspects of the prosecution history, including the fact
  that “the USPTO has found . . . that claims at issue here are not directed to an
  abstract idea.” (Appx195; Appx203). In any event, the prosecution history is
  intrinsic evidence that is responsive to arguments raised by Defendant on appeal.


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        data, different rows/instances of data, or both. . . . The ensemble
        methods mentioned in Fig. 13 of Richter, however, "voting,"
        "average," "weighted average," and "hueristic rules" [sic.] do not
        distinguish between learned functions, with all learned functions
        processing all data. Richter does not teach any synthesized rules for
        directing data through multiple learned functions of an ensemble so
        that different learned functions process different subsets of the data.

  Appx303–304.

        The distinction between the ‘446 predictive ensemble and a voting ensemble

  reflects a significant improvement in predictive data processing technology.

        Defendant argues that at oral argument PurePredictive expressly disclaimed

  the idea that the claimed predictive ensemble “provides a structured data

  processing environment.” As evidence, defendant quotes a limited portion of an

  exchange between plaintiff’s counsel, Mr. Jeremy Adamson, and the district court.

  However, the portion quoted by defendant omits a key part of the exchange that

  clarifies the discussion.

               MR. ADAMSON: I agree. We're not talking about data
        structures. Enfish was about data tables and self-referencing tables
        versus having individual tables where data was handled a different
        way. That's not what this patent is about. This patent is about
        predictive learning and machine learning functions and modules, so --
        yeah. We're –

               THE COURT: It's a distinction without a difference?

               MR. ADAMSON: Exactly.

  Appx212:11–19 (emphasis added).




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        When the exchange is viewed in full, it becomes clear that no admission was

  made that the appealed claims do not involve data related structures. The

  discussion was directed specifically to the self-referential data structures of Enfish.

  The claimed predictive ensemble is not strictly a data structure and it is not strictly

  learned functions. It is both. It is a structured environment for data processing

  comprising data structured relationships among synthesized/combined learned

  functions. Thus, the question regarding “data structures” was “a distinction without

  a difference”, as noted by the district court and confirmed by plaintiff’s counsel.

        Defendant’s argument is a red herring, because the term “data structure” is

  never used in plaintiff’s appeal brief. That is because Plaintiff characterizes the

  predictive ensemble to include the metadata structuring of combined learned

  functions, not just data. Thus, there is a metadata structured environment for

  processing workload data comprising structured relationships among both

  evaluative metadata and different synthesized/combined learned functions. Again,

  the predictive ensemble is not strictly a data structure, but it comprises metadata

  structured   relationships   among     combined     synthesized    learned   function.

  Accordingly, Enfish still applies.

        As such, plaintiff did not disclaim a data structured environment for

  predictive data processing. Accordingly, the appealed claims are directed to patent

  eligible subject matter under § 101.


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        B.     The Appealed Claims are Necessarily Rooted in Computer
               Technology

        The appealed claims are not, as defendant argues, purely directed to the

  manipulation of data in the abstract. RB at 2. Defendant argues that the claims are

  “not tied to any computer, software, algorithm, data, metadata, or kind of

  prediction.” RB at 3. Indeed, defendant construes the claims so, in defendant’s

  words, they “can literally be infringed by the acts of a human sitting alone in a dark

  room, or (at a minimum) someone who is writing equations down on the back of a

  napkin.” RB at 15.

        Defendant’s position demonstrates how far removed its interpretation of the

  claims is from the actual language of the claims. The claimed technology is

  necessarily rooted in computer technology and overcomes problems arising in the

  realm of computer networks. Even the district court acknowledged that the claims

  involved the use of computer hardware/software. Appx10:14–17, Appx11:4–5.

        Contrary to defendant’s claim interpretation, Claim 1 cannot be infringed by

  acts of a human sitting alone in a dark room or writing equations down on a

  napkin. Claim 1 is directed to a predictive analytics factory for forming a

  predictive ensemble consistent with the ‘446 Patent. Claim 1 specifically requires

  computer hardware/software for implementation. The apparatus of claim 1

  includes “a receiver module . . .; a function generator module . . .; a function

  evaluator module . . .; and a predictive compiler module configured to form the

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  predictive ensemble, the predictive ensemble comprising . . . a rule set synthesized

  from the evaluation metadata to direct data through the multiple learned functions

  such that different learned functions of the ensemble process different subsets of

  the data based on the evaluation metadata.” (Appx34, 22:56 – Appx35, 23:18)

  (emphasis added).

        As explained in the ‘446 Patent:

        a module may be implemented as a hardware circuit . . . . A module
        may also be implemented in programmable hardware devices . . . .

        Modules may also be implemented in software for execution by
        various types of processors. . . . .

  (Appx25, 3:35-47)

        Likewise, claim 23 cannot be infringed by acts of a human sitting alone in a

  dark room or writing equations down on a napkin. Claim 23 is directed to a

  predictive ensemble consistent with the ‘446 specification and requires the use of

  computer hardware/software. For example, claim 23 includes: “an orchestration

  module configured to direct the data through the different learned functions of the

  multiple learned functions based on the synthesized metadata rule set to produce

  the result.” (Appx36, 26:4-19) (emphasis added).

        Similarly, claim 17 cannot be infringed by acts of a human sitting alone in a

  dark room or writing equations down on a napkin. Claim 17 is directed to a

  “computer program product” for forming a predictive ensemble consistent with


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  the ‘446 specification. Thus, defendant’s interpretation is inconsistent with the

  language of claim 17, which states in relevant part: “A computer program product

  comprising a non-transitory computer readable storage medium storing computer

  usable program code . . .” (Appx35, 24:54–57).

        Defendant also construes claim 14 inconsistent with the actual claim

  language. Claim 14 is directed to the method for a predictive analytics factory for

  forming a predictive ensemble. (Appx35, 24:21-41)(emphasis added). The

  predictive analytics factory of claim 14 is necessarily implemented by computer

  hardware and software and rooted in computer technology. A predictive analytics

  factory, as shown in FIG. 4 of the ‘446 Patent, comprises and operates using

  various computer modules. Appx19. The predictive ensemble of claim 14 is

  comprised of a plurality of learned functions (per the claim language) in a

  structured combination that is defined by a synthesized metadata rule set to “direct

  different subsets of the workload data through different learned functions of the

  multiple learned functions based on the evaluation metadata.” Appx35, 24:38–41.

        The learned functions of claim 14 are defined in the ‘446 specification: “A

  learned function, as used herein, comprises a computer readable code that accepts

  an input and provides a result.” Appx27, 8:50–51.         A learned function “may

  comprise a compiled code, a script, text, a data structure, a file, a function, or the

  like,” and may be generated “using parallel computing on multiple processors,


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  such as a massively parallel processing (MPP) system or the like.” Appx27, 8:51–

  53, 7:31–35. The specification also states that the evaluation metadata is stored in

  a metadata library where it can be accessed using “an API, a shared library, one or

  more function calls, or the like.” Appx32, 17:21–23. Furthermore, the evaluation

  metadata may be stored “in a database format . . . or as one or more other data

  structures” and may be indexed “by learned function, by feature, by instance, by

  training data, by test data, by effectiveness, . . . and may provide query access to

  the indexed evaluation metadata.” Appx32, 17:25–32. The learned functions are

  generated, executed, and analyzed on computers, as described above, and the

  evaluation metadata is necessarily collected and stored on a computer.

         Everything about claim 14 is rooted in computer technology and improves

  the processing of predictive analytics data by “direct[ing] different subsets of the

  workload data through different learned functions of the multiple learned functions

  based on the evaluation metadata.” Appx35, 24:38-41.

         Thus, the appealed claims are not directed to an abstract idea and the district

  court’s order of dismissal should be reversed.

  III.   ALICE STEP 2 – THE CLAIMS RECITE A PATENT-ELIGIBLE
         APPLICATION

         Step two of the Alice/Mayo framework assumes that the court has found that

  the patent claims are directed to an abstract idea at step one. Here, the claims are

  not directed to an abstract idea. But even assuming the patent is directed to an

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  abstract idea, the claims recite significantly more than the purported idea of

  manipulating mathematical formulas.

        The inquiry at step 2 looks to the presence of "an element or combination of

  elements that is 'sufficient to ensure that the patent in practice amounts to

  significantly more than a patent upon the [ineligible concept] itself.'" Alice, 134 S.

  Ct. at 2355 (quoting Mayo Collaborative Servs. v. Prometheus Labs. Inc., 132 S.

  Ct. 1289, 1394 (2012)). “The second step of the Alice test is satisfied when the

  claim limitations involve more than performance of well-understood, routine, [and]

  conventional activities previously known to the industry.” Berkheimer, 881 F.3d at

  1367 (internal citations omitted).

        Further, even if a claim includes an algorithm, it is not improperly abstract if

  the algorithm is combined with other elements to accomplish a particular goal. See,

  e.g., Parker v. Flook, 437 U.S. 584, 590 (1978) (“a process is not unpatentable

  simply because it contains a law of nature or a mathematical algorithm”); Diehr,

  450 U.S. at 187; California Inst. of Tech. v. Hughes Commc’ns Inc., 59 F. Supp. 3d

  974, 991 (C.D. Cal. 2014).

        Here, the district court’s dismissal order fundamentally errs because the

  claims do not simply implement math. Rather, they involve a metadata structured

  arrangement of combined learned functions that allows control of the flow of

  different subsets of workload data to different classes of combined learned


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  functions. Thus, it improves the efficiency and effectiveness of predictive data

  processing. This is tied directly to ‘446 Patent claim language covering a predictive

  ensemble comprising:

        multiple learned functions . . . selected and combined based on the
        evaluation metadata . . ., the predictive ensemble comprising a rule set
        synthesized from the evaluation metadata to direct data through the
        multiple learned functions such that different learned functions of the
        ensemble process different subsets of the data based on the evaluation
        metadata.

  Appx35, 23:10–18; see McRO, Inc. v. Bandai Namco Games America, Inc., 837

  F.3d 1299, 1314 (Fed. Cir. 2016) (“[w]e therefore look to whether the claims in

  these patents focus on a specific means or method that improves the relevant

  technology”) (citing Enfish, 822 F.3d at 1336 and Rapid Litig. Mgmt. Ltd. v.

  CellzDirect, Inc., 827 F.3d 1042, 1048 (Fed. Cir. 2016)) (emphasis added).

        The metadata structured arrangement of combined learned functions is

  comparable to the “self-referential” database model held as patent eligible in Enfish.

  Enfish, 822 F.3d at 1330-33, 1346. In Enfish, the patents-at-issue covered a logical

  model for a computer database that defined how the various elements of information

  in the database are related to each other. Id. at 1330. This Court held that claims

  covering this “self-referential” feature were patent eligible under § 101. Id. at 1346.

  The predictive ensemble feature claimed in the ‘446 Patent likewise is a metadata

  structured environment that defines how various elements of information (e.g.,

  subsets of data) are related to various combined learned functions.


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        Defendant argues that the appealed claims merely cover the performance of

  well-understood, routine, and conventional activities previously known to the

  industry. RB at 27. But defendant proffers no evidence to show that a metadata

  structured arrangement of combined learned functions using evaluative metadata is

  “well-understood, routine and conventional” – particularly where the predictive

  ensemble is structured to direct different subsets of data to different combined

  learned functions for processing of different data by different learned functions.

  Defendant merely proffers conclusory allegations. At a minimum, there are issues

  of fact from the specification and intrinsic evidence that were raised below by

  PurePredictive that preclude dismissal of the complaint with prejudice.5

        Defendant argues that improvements to the field of predictive data

  processing cited by plaintiff are not tied to claim language. Defendant’s argument

  is erroneous. The following chart shows recited improvements, claim language

  associated with the improvements, and examples from the ‘446 specification where

  discussed.

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    Defendant also argues that its conclusory allegations are sufficient and that
  Berkheimer and Aatrix Software, Inc. v. Green Shades Software, Inc., 882 F.3d
  1121 (Fed. Cir. 2018) are not applicable because PurePredictive purportedly did
  not raise fact issues below. To the contrary, in its opposition brief and at oral
  argument, PurePredictive made numerous assertions regarding facts/evidence
  found in the ‘446 specification that the claims do not cover routine or conventional
  processes. See, e.g., Appx156: 19–21, Appx157:9–15, Appx162:4–9, Appx162:23–
  163:2, Appx163:18-164:2, Appx165:3-13, Appx166:18–21, Appx196:23-197:8,
  Appx213:17–214:12.


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   Improvement/Advantage            Claim Language                  Specification

                              Claims 1 and 14:
                              the predictive ensemble          the synthesized
                              comprising a subset of           metadata rule set 322
                              multiple learned functions .     comprises a set of
                              . . selected and combined        rules or conditions
                              based on the evaluation          from the evaluation
                              metadata . . ., the predictive   metadata of the
                              ensemble comprising a            metadata library 314
                              rule set synthesized from        that indicate to the
                              the evaluation metadata          orchestration module
                              to direct data through the       320 which features,
                              multiple learned                 instances, or the like
                              functions such that              should be directed to
                              different learned                which synthesized
                              functions of the ensemble        learned function 324
                              process different subsets        (Appx32, 18:23-28)
                              of the data based on the
    (1) division of           evaluation metadata
    workload data-
    processing, providing     Claim 17:                        The synthesizer
    for quicker more          the predictive ensemble          module 310 may use
    efficient processing of   comprising at least two          that evaluation
    data                      learned functions . . . , the    metadata to determine
                              at least two learned             rules for the
                              functions . . . selected and     synthesized metadata
                              combined based on the            rule set 322,
                              evaluation metadata, the         indicating which
                              predictive ensemble              features, which
                              comprising a rule set            instances, or the like
                              synthesized from the             the orchestration
                              evaluation metadata to           module 320 the
                              direct data through the at       orchestration module
                              least two learned                320 [sic] should direct
                              functions so that different      through which learned
                              learned functions process        functions, in which
                              different features of the        order, or the like.
                              selected subset of               (Appx32, 18:33-39)
                              features.

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                              Claim 23:
                              a metadata rule set        The orchestration
                              synthesized from the       module 320 . . . is
                              evaluation metadata for    configured to direct
                              the plurality of learned   workload data
                              functions for directing    through the predictive
                              data through different     ensemble 304 . . .
                              learned functions of the   [and] uses evaluation
                              multiple learned           metadata from the
    (1) division of           functions to produce a     function evaluator
    workload data-            result; and                module 312 and/or
    processing, providing                                the metadata library
    for quicker more          an orchestration module 314, such as the
    efficient processing of   configured to direct the   synthesized metadata
    data                      data through the different rule set 322, to
                              learned functions of the   determine how to
                              multiple learned           direct workload data
                              functions based on the     through the
                              synthesized metadata rule synthesized learned
                              set to produce the result. functions 324 of the
                                                         predictive ensemble
                                                         304.
                                                         (Appx32, 18:11-22)




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                              Claim 1:
                              a     function     generator   The predictive
                              module      configured    to   analytics module 102
                              pseudo-randomly generate       . . . generates
                              a plurality of learned         predictive ensembles
                              functions based on the         for the clients 104,
                              training data without          with little or no
                              prior            knowledge     input from a Data
                              regarding suitability of       Scientist or other
                              the generated learned          expert. (Appx27,
                              functions for the training     7:14-16)
                              data;
                                                           provide[s] predictive
                              Claim 14:                    ensembles that are
                              pseudo-randomly              customized and finely
                              generating a plurality of    tuned for data from a
    (2) Generation of         learned functions based on specific client 104,
    effective predictive      training data without prior without excessive
    ensembles without         knowledge regarding          intervention or fine-
    intervention of data      suitability of the           tuning. (Appx27,
    scientists, experts, or   generated learned            7:29-31)
    users                     functions for the training
                              data, the training data      eliminates or
                              received for forming a       minimizes the role of
                              predictive ensemble”         a Data Scientist or
                                                           other expert in
                              Claim 23:                    generation of a
                              wherein the larger plurality predictive ensemble.
                              of learned functions are     (Appx28, 10:8-10)
                              generated pseudo-randomly
                              from training data without
                              prior knowledge of a
                              suitability of the larger
                              plurality of learned
                              functions for the training
                              data

                              See similar language in
                              claim 17

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                             Claim 1:                      the predictive
                             a function evaluator          compiler module 206
                             module configured to          . . . may iteratively
                             perform an evaluation of      increase the number
                             the plurality of learned      of features used to
                             functions using test data     generate predictive
                             and to maintain evaluation    ensembles 304 until
                             metadata for the plurality    an increase in
                             of learned functions, the     effectiveness or
                             evaluation metadata           usefulness of the
                             comprising one or more of     results of the
                             an indicator of a training    generated predictive
                             data set used to generate a   ensembles 304 fails
                             learned function and an       to satisfy a feature
                             indicator of one or more      effectiveness
                             decisions made by a           threshold. By
                             learned function during the   increasing the number
    (3) More effective and   evaluation . . . the multiple of features until the
    efficient predictive     learned functions selected    increases stop being
    ensembles                and combined based on the     effective . . . the
                             evaluation metadata           predictive compiler
                                                           module 206 may
                             Claim 14:                     determine a
                             evaluating the plurality of minimum effective
                             learned functions using       set of features for
                             test data to generate         use in a predictive
                             evaluation metadata           ensemble 304, so
                             indicating an effectiveness that generation and
                             of different learned          use of the predictive
                             functions at making           ensemble 304 is both
                             predictions based on          effective and
                             different subsets of the test efficient. (Appx29,
                             data…the subset of            12:39-51)
                             multiple learned
                             functions selected and        the function generator
                             combined based on the         module 204 ensures
                             evaluation metadata.          that at least a subset
                                                           of the generated
                                                           learned functions,

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                             Claim 17:                         either individually or
                             selecting a subset of the         in combination, are
                             features of the training data     useful, suitable,
                             based on evaluation               and/or effective for
                             metadata generated for the        the training data
                             plurality of learned              without careful
                             functions, the evaluation         curation and fine
                             metadata comprising an            tuning by a Data
                             effectiveness metric for a        Scientist or other
    (3) More effective and   learned function . . . at least   expert. (Appx28,
    efficient predictive     two learned functions             9:61-65)
    ensembles                selected and combined
                             based on the evaluation           At each iteration, the
                             metadata                          function evaluator
                                                               module 312 may
                             Claim 23:                         determine an overall
                             a metadata rule set               effectiveness of the
                             synthesized from the              learned functions in
                             evaluation metadata for the       aggregate for the
                             plurality of learned              current iteration's
                             functions for directing data      selected combination
                             through different learned         of features. (Appx30,
                             functions of the multiple         13:11-14)
                             learned functions to
                             produce a result                  the metadata library
                                                               314 may index
                                                               evaluation metadata
                                                               by learned function,
                                                               by feature, by
                                                               instance, by training
                                                               data, by test data, by
                                                               effectiveness, and/or
                                                               by another category
                                                               30 or attribute and
                                                               may provide query
                                                               access to the indexed
                                                               evaluation metadata.
                                                               (Appx32, 17:28-32)




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                                                          In a further
                                                          embodiment, based
                                                          on evaluation
                                                          metadata from the
                                                          metadata library 314,
                             See recited claim language the feature selector
                             for claims 1, 14, 17, and 23 module 302
                             associated with              determines which
                             improvement/advantage (3) features from
    (4) Excludes or
                             above.                       initialization data
    reduces noise from
                                                          and/or training data
    predictive ensembles
                                                          are adding noise, are
                                                          not predictive, are the
                                                          least effective, or the
                                                          like, and excludes
                                                          the features from the
                                                          predictive ensemble.
                                                          (Appx29, 12:66 –
                                                          Appx30, 13:4)




                                                          See specification at
                                                          Appx29, 12:66 –
                                                          Appx30, 13:4 quoted
                             See recited claim language above for
                             for claims 1, 14, 17, and 23 improvement (4).
                             associated with
    (5) Optimizes
                             improvement/advantage (3) See also specification
    overhead of predictive
                             above.                       at Appx29, 12:39-51
    ensembles
                                                          quoted above for
                                                          improvement (3).




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                                                          The predictive
                                                          correlation module
                                                          318 determines one
                                                          or more features,
                                                          instances of features,
                                                          or the like that
                             See recited claim language correlate with higher
    (6) Higher and           for claims 1, 14, 17, and 23 confidence metrics
    optimized confidence     associated with              (e.g., that are most
    metrics                  improvement/advantage (3) effective in predicting
                             above.                       results with high
                                                          confidence). The
                                                          predictive correlation
                                                          module 318 may
                                                          cooperate with, be
                                                          integrated with, or
                                                          otherwise work in
                                                          concert with the
                                                          feature selector
                                                          module 302 to
                                                          determine one or
                                                          more features,
                                                          instances of features,
                                                          or the like that
                                                          correlate with higher
                                                          confidence metrics.
                                                          For example, as the
                                                          feature selector
                                                          module 302 causes
                                                          the predictive
                                                          compiler module 206
                                                          to generate and
                                                          evaluate learned
                                                          functions with
                                                          different sets of
                                                          features, the
                                                          predictive
                                                          correlation module
                                                          318 may determine

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                                                           which features
    (6) Higher and            See recited claim language and/or instances of
    optimized confidence      for claims 1, 14, 17, and 23 features correlate
    metrics                   associated with              with higher
                              improvement/advantage (3) confidence metrics,
                              above.                       are most effective, or
                                                           the like based on
                                                           metadata from the
                                                           metadata library
                                                           314. (Appx30, 13: 19-
                                                           34)


        Thus, contrary to defendant’s assertions, the improvements to predictive data

  processing are tied to language of the claims. At minimum, the appealed claims are

  patent eligible under Alice Step 2.

        Accordingly, the order of dismissal should be reversed.

  IV.   THE DISMISSAL ORDER FAILED TO APPLY THE CLEAR AND
        CONVINCING EVIDENCE STANDARD; THERE ARE MATERIAL
        ISSUES OF FACT

        The district court legally erred by not applying the “clear and convincing”

  evidence standard when it held the claims of the ‘446 Patent invalid. “[W]hether a

  claim recites patent eligible subject matter is a question of law which may contain

  underlying facts.” Berkheimer, 881 F.3d at 1368 (citing Akzo Nobel Coatings, Inc.

  v. Dow Chem. Co., 811 F.3d 1334, 1343 (Fed. Cir. 2016)). “Any fact . . . that is

  pertinent to the invalidity conclusion must be proven by clear and convincing

  evidence.” Id. (citing Microsoft Corp. v. i4i Ltd. P'ship, 564 U.S. 91, 95, 131 S. Ct.

  2238, 180 L. Ed.2d 131 (2011)) (emphasis added).


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        Defendant attempts to distinguish Berkheimer by alleging that plaintiff has

  not identified any “inventive” concept having a structural claim element, such as a

  “data file.”6 However, as noted above, plaintiff identified several inventive

  concepts captured by the claim language, which include structural elements. The

  metadata structured arrangement of combined learned functions comprising the

  predictive ensemble is structural. Moreover, defendant proffers no evidence to

  show that this metadata structured arrangement of combined learned functions is

  “well-understood, routine and conventional” – particularly where the predictive

  ensemble is structured to direct different subsets of data to different combined

  learned functions for processing by the different learned functions. Defendant

  merely proffers conclusory allegations. At a minimum, there are issues of fact that

  preclude dismissal of the complaint with prejudice.

        Defendant argues that the “district court did not reject any factual assertion

  made by PurePredictive about the novelty of its purported invention, but instead

  found that its ‘solutions remain the abstract mathematical processes of collecting


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    Defendant also argues that its conclusory allegations are sufficient and that
  Berkheimer and Aatrix are not applicable because PurePredictive did not
  purportedly raise fact issues below. To the contrary, in its opposition brief and at
  oral argument, PurePredictive made numerous assertions regarding facts/evidence
  found in the ‘446 specification that the claims do not cover routine or conventional
  processes. See, e.g., Appx156: 19–21, Appx157:9–15, Appx162:4–9, Appx162:23–
  163:2, Appx163:18-164:2, Appx165:3-13, Appx166:18–21, Appx196:23-197:8,
  Appx213:17–214:12.


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  and analyzing data.’” RB at 33. But in doing so the district court had to make a

  factual determination regarding whether the invention was routine or conventional.

  The district court held that the claims “make use of computers only as tools, rather

  than provide a specific improvement on a computer-related technology.” Appx2.

  The district court acknowledged Plaintiff’s fact-based arguments that the “claims

  contain both an unconventional improvement in its field and an inventive concept

  through its ordered combination.” Appx11. But the district court held the claims

  invalid despite a factual dispute regarding whether or not the claims merely

  covered implementation of routine, well-known processes.

        “The question of whether a claim element or combination of elements is

  well-understood, routine and conventional to a skilled artisan in the relevant field

  is a question of fact.” Berkheimer, 881 F.3d at 1368. “The improvements in the

  specification, to the extent they are captured in the claims, create a factual dispute

  regarding whether the invention describes well-understood, routine, and

  conventional activities.” Id. at 1369 (citing Content Extraction & Transmission

  LLC v. Wells Fargo Bank, Nat'l Ass'n, 776 F.3d 1343, 1347-48 (Fed. Cir. 2014)).

        The ‘446 specification recites numerous improvements to the field of

  predictive   data   processing   technology.    As    demonstrated     above,   these

  improvements are tied to the claim language. Thus, there is a “factual dispute




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  regarding whether the invention describes well-understood, routine, and

  conventional activities.” Id.

        Accordingly, the dismissal order should be reversed.

  V.    IT WAS IMPROPER FOR THE DISTRICT COURT TO
        PREEMPTIVELY REFUSE PUREPREDICTIVE AN OPPORTUNITY
        TO AMEND THE COMPLAINT WHERE THE COURT DISMISSED
        THE COMPLAINT WITH PREJUDICE WITHOUT THE BENEFIT
        OF CLAIM CONSTRUCTION

        The district court’s refusal to allow PurePredictive any opportunity to amend

  its Complaint was in error. Defendant argues that any amendment to the Complaint

  would be futile. RB at 36. Defendant’s argument is based on its erroneous

  characterization of claim 14, untethered from the language of the claim, and its

  improper treatment of claim 14 as representative of all other claims. See, e.g., RB

  at 34–35. But the district court’s preemptive refusal to permit even a first amended

  complaint, where the dismissal was decided without the benefit of claim

  construction, was in error.

        In the Ninth Circuit, dismissal of a complaint without leave to amend is

  improper unless it is clear, upon de novo review that the complaint could not be

  saved by any amendment. See AE ex rel. Hernandez v. County of Tulare, 666 F.3d

  631, 636 (9th Cir. 2012); Thinket Ink Info. Res., Inc. v. Sun Microsystems, Inc., 368

  F.3d 1053, 1061 (9th Cir. 2004).




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        Federal Rule of Civil Procedure 15(a) provides that leave to amend a pleading

  "shall be freely given when justice so requires." The United States Supreme Court and

  the Ninth Circuit have repeatedly reaffirmed that leave to amend is to be granted with

  "extreme liberality." DCD Programs, Ltd. v. Leighton, 833 F.2d 183, 186 (9th Cir.

  1987) (citation omitted) (emphasis added); see, e.g., Foman v. Davis, 371 U.S. 178,

  182, 83 S. Ct. 227, 230 (1962) (leave to amend should be freely given); Eminence

  Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003) (“Absent prejudice,

  or a strong showing of any of the remaining Foman factors, there exists a presumption

  under Rule 15(a) in favor of granting leave to amend.”) (emphasis in original); United

  States v. Webb, 655 F.2d 977, 979 (9th Cir. 1981) (courts should be guided by policy

  favoring decisions on the merits "rather than on the pleadings or technicalities");

  Cooper Development Co. v. Employers Insurance of Wausau, 765 F. Supp. 1429,

  1432 (N.D. Cal. 1991) (courts have been "quite liberal" in granting leave to amend);

  see also Moore, 3-15 Moore's Federal Practice - Civil § 15.14 ("A liberal, pro-

  amendment ethos dominates the intent and judicial construction of Rule 15(a).").

        In Aatrix Software, the Federal Circuit found that the district court erred when

  it dismissed a complaint under § 101 and refused the plaintiff an opportunity to amend

  the complaint (i.e., a second amended complaint), without claim construction. Aatrix

  Software, 882 F.3d at 1125.




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        The district court in this case erroneously applied an overbroad abstraction

  of claim 14 to all claims, without any claim construction, to hold all claims

  invalid, and then refused any opportunity to amend the complaint – despite the fact

  that PurePredictive had not yet made any amendments to the complaint and had

  raised concerns that no claim construction had been conducted.

        During the hearing on defendant’s motion to dismiss, PurePredictive

  emphasized “the importance of the claim construction process in determining

  whether claims are actually patent eligible or not.” Appx193:24–194:2.

  PurePredictive further expressed its concern that the district court was not going to

  evaluate evidence “as to how the claims should be construed here” before deciding

  the motion to dismiss. Appx194:4–5. As noted by PurePredictive at the hearing: “it

  would be unreasonable to do so to supplant the USPTO's judgment on this patent at

  this early stage in the litigation without any benefit of the type of analysis that

  would come through claim construction.” Appx194:15–18.

        The Federal Circuit has noted that “the need for claim construction might be

  apparent just from the claim terms themselves, to arrive at ‘a full understanding of

  the basic character of the claimed subject matter.’” Aatrix Software, 882 F.3d at

  1128, quoting Bancorp Servs., L.L.C. v. Sun Life Assur. Co. of Canada (U.S.), 687

  F.3d 1266, 1273–74 (Fed. Cir. 2012). The need for claim construction in the




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  present case is abundantly apparent as demonstrated in Appellant’s opening brief.

  Aatrix Software, 882 F.3d at 1129.

        Thus it was improper for the district court to dismiss Plaintiff’s complaint

  without the benefit of claim construction and without any opportunity to amend the

  complaint. There are numerous issues of fact regarding claim language having a

  bearing on validity under § 101. Accordingly, the district court’s order of dismissal

  should be reversed.

        Alternatively, the dismissal order should be vacated and Plaintiff should be

  provided an opportunity to amend its complaint. Aatrix Software, 882 F.3d at 1129

  (“The briefing and argument on appeal demonstrate a need for claim construction, to

  be conducted on remand after the amended complaint is filed.”).




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            CONCLUSION AND STATEMENT OF RELIEF SOUGHT

        For the reasons stated herein, PurePredictive respectfully requests that this

  Court reverse the final judgment entered by district court and hold each of the claims-

  at-issue patent eligible under § 101. Alternatively, the dismissal order should be

  vacated and Plaintiff should be provided an opportunity to amend its complaint.

  Dated: May 4, 2018               Respectfully submitted,

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                   CERTIFICATE OF FILING AND SERVICE

        I hereby certify that, on May 4, 2018, I electronically filed the foregoing

  APPELLANT’S REPLY BRIEF with the Clerk of Court using the CM/ECF

  System, which will send notice of such filing to all registered users.

        I further certify that, upon acceptance and request from the Court, the

  required paper copies of the foregoing will be deposited with United Parcel Service

  for delivery to the Clerk, UNITED STATES COURT OF APPEALS FOR THE FEDERAL

  CIRCUIT, 717 Madison Place, N.W., Washington, D.C. 20439.

        The necessary filing and service were performed in accordance with the

  instructions given to me by counsel in this case.

  Dated: May 4, 2018                     /s/ Priscilla C. Winkler
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                       CERTIFICATE OF COMPLIANCE

  1.    This brief complies with the type-volume limitation of Fed. R. App. P.
        32(a)(7)(B) because:

              this brief contains 6,993 words, excluding the parts of the brief
              exempted by Fed. R. App. P. 32(a)(7)(B)(iii).

  2.    This brief complies with the typeface requirements of Fed. R. App. P.
        32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because:

              this brief has been prepared in a proportionally spaced typeface using
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  Dated: May 4, 2018                    Respectfully submitted,
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